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Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page lm_leEagQ@éBN_XXXX-l\/[A

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IN THE CIRCU.[T COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE N()_ 1 6-201 8-CA-0061 97-XXXX-IV|A
DlVISION CV-G

Cer 0F JACKSONVILLE, FLOR]DA,
a Florida municipal corporation, and JEA,
a body politic and corporate,

Plaintiffs,
v.
MUNICH’AL ELECTRIC AUTHORITY
OF GEORGIA, a public body corporate

and politic of the state of Georgia,

Defendant.
/

COMPLAINT FOR DECLARATORY JUDGMENT

This is an action for a declaratory judgment pursuant to Scction 86.011, Florida Statutes.
Plaintiffs City of J acksonville, Florida and JEA seek a judicial declaration that the Power Purchase
Agreement (the “PPA,” as is further defined herein) between JEA and Dei`endant, Municipal
Electric Authority of Georgia (“MEAG”)_which purports to saddle JEA and its ratepayers with
an unlimited obligation to fund the exorbitant and ever-ballooning cost of constructing units of a
nuclear power plant that JEA does not own, over which it has no control, and which will be owned
and controlled primarily by private enterprises-violates the Constitution, laws, and public policy
of the state of` Florida and is therefore ultra vires, void ab initio, and unenforceable

NATURE OF THE CASE
l. '].`his action seeks to remove a cloud of uncertainty between what the terms of the

PPA purport to require JEA to do, on the one hand, and what the law permits JEA to do, on the

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Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 2 of 23 Page|D 170

other hand. At the center of this uncertainty is the project to construct the only two new nuclear
power units being built in America. After the general contractor filed bankruptcy, a new cost-plus
construction contract with a new general contractor was entered into that greatly increased JEA’s
exposure, which is now uncapped. The project initially was expected to cost $9.5 billion with a
guaranteed maximum price that limited JEA’s liability. Current cost-to-completion estimates
exceed $27 billion, and that number is expected to increase ln the interest of the City’s citizens
and JEA’s ratepayers, the City and JEA are uncertain as to the validity of the PPA and seek a
declaration of JEA’s rights, duties and obligations thereunder.

PARTIES JURISDICTION ANDVENUE

 

2. This Court has jurisdiction over this matter pursuant to Section 26.012, Florida
Statutes.

3. Plaintiff City of Jacksonville, Florida (“City”) is an incorporated municipality of
the State ofFlorida.

4. Plaintiff, JEA, is a body politic and corporate and an independent agency of the
City, created and established pursuant to Chapter 21 of the Charter of the City of J acksonville (the
“Charter”).

5. Defendant, MEAG, is a public body corporate and politic, a public corporation of
the state of Georgia, but is not a Georgia institution nor a department or agency of Georgia.
O.C.G.A. § 46-3-112. MEAG generates and transmits wholesale electric power to 49 communities
(the “Participants”) across the state of` Georgia.

6. The amount in controversy exceeds $15,000, exclusive of interest and costs.

7. This Court has specific personal jurisdiction over MEAG under Florida’s long-arm

statute because this cause of action arises from MEAG’s acts in “[o]perating, conducting, engaging

Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 3 of 23 Page|D 171

in, or carrying on a business or business venture in [Florida].” § 48.1 93(1 )(a)l , Fla. Stat. MEAG’s
collective activities in Florida relating to the PPA show a general course of business activity in
Florida for pecuniary benefit.

8. Venue is proper in this Court pursuant to Chapter 47, Florida Statutes, because a
substantial part of the events or omissions giving rise to the claim occurred and the cause of action
accrued in Jacksonville, Duval County, Florida. The issues in this case concern the validity of the
PPA and do not arise out of either party’s actions or inactions in performance thereunder.

GENERAL ALLEGATIONS SUPPORTING DECLARATORY RELIEF

9. The Alvin W. Vogtle Electric Generating Plant (“Plant Vogtle”) is nuclear power
plant located in Burke County, Georgia, consisting of two units_Plant Vogtle Units 1 and 2_
constructed in 1987 and 1989, respectively

10. Plant Vogtle Units l and 2 are jointly owned by Georgia Power Company (“Georgia
Power”), Oglethorpe Power Corporation (“Oglethorpe”), MEAG, and City of Dalton (“Dalton,”
and together with Georgia Power, Oglethorpe, and MEAG, the “Original Co-Owners”). The
Original Co-Owners hold undivided ownership interests in Plant Vogtle Units 1 and 2 in the
following ownership percentages: Georgia Power (45.7%); Oglethorpe (30%); MEAG (22.7%);
and Dalton (1.6%).

11. In or about 2005, the Original Co-Owners agreed to expand the facilities at Plant
Vogtle by developing two additional nuclear generating units, Plant Vogtle Units 3 and 4 (the
“Additional Units”), consisting of two Westinghouse Electric Company LLC AP1000 reactors,
each with a nominally rated generating capacity of 1,102 MW (generally, the “Vogtle Proj ect”).

12. ln or about May 2005, the Original Vogtle Co-Owners entered into an agreement

to develop, construct, license, operate and own as tenants in common the Additional Units. The

Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 4 of 23 Page|D 172

Original Vogtle Co-Owners agreed to own and share the cost of constructing the Additional Units
in the same ownership interest levels that each own with respect to Plant Vogtle Units 1 and 2-
i.e., Georgia Power (45.7%); Oglethorpe (30%); MEAG (22.'7%); and Dalton (1.6%).

13. The Nuclear Regulatory Commission (“NRC”) certified the Additional Units’
nuclear reactor design in late 2011 and issued combined construction and operating licenses in
early 2012, which allowed filll construction of the Additional Units to begin. The NRC operating
license Nos. NPF-9l and NPF-92 (“NRC Licenses”) each has a term of 40 years, which begins
upon the requisite NRC Commission Finding set forth in 10 C.F.R. § 52.103(g).

14. Pursuant to its agreement with the other Original Co-Owners, MEAG acquired a
22.7 percent undivided ownership interest in the Additional Units, representing a projected 500.3
MW of nominally rated generating capacity.

15. Georgia Power owns the largest share of the Additional Units (45.7%) and acts as
Agent for the other Co-Owners. See PPA § 104.

16. The total projected output of MEAG’s interest in the Additional Units over their
40-year life was expected to be in excess of` its Participants’ needs. Accordingly, MEAG divided
its undivided interest in the Additional Units into three separate undivided interests referred to as
“Project J,” “Project P,” and “Project M.” See PPA “Recitals”. Project J refers to MEAG’s
arrangement with JEA, which is described below. See PPA § 104. Project M refers to MEAG’s
40-year arrangement to sell 33.871 percent of its share of power from the Additional Units to 29
of its Participants. Project P refers to MEAG’s arrangement to sell 24.995 percent of its share of
power from the Additional Units to an Alabama entity called PowerSouth for the initial 20 years

of operation and then to 39 of its Participants for the final 20 years of operation.

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 5 of 23 Page|D 173

17. MEAG created three separate legal entities corresponding to each of the three
projects (the “Project Entities”) and transferred a portion of its ownership interest in the Additional
Units equal to their respective project percentages As a result of MEAG’s assignment of` its
ownership interest in Plant Vogtle to the Project Entities, the Vogtle Co-Owners now include
Georgia Power, Oglethorpe, Dalton, and the Proj ect Entities, but not MEAG (the “Co-Owners”).

18. To implement Project J, MEAG created MEAG Power SPVJ LLC (the “Project J
Entity”) as a wholly-owned, direct subsidiary and transferred to it approximately 41.175 percent
of its interest in the Additional Units. See PPA § 104.

19. Pursuant to Project J, JEA as buyer and MEAG as seller entered into that certain
Power Purchase Agreement dated as of` May 12, 2008 (“Original PPA”) for the sale and purchase
of approximately 41.175 percent (206 megawatts) of MEAG’s share of the electric capacity and
energy projected to be generated during the initial 20 years of` operation of the Additional Units.
MEAG also contracted with 39 of its Participants (the “Project J Participants”) to sell the Project
J Participants the potential output generated after the initial 20 years of operation.

20. On December 31, 2014, the parties executed that certain Amended and Restated
Power Purchase Agreement dated as of December 31, 2014 (the “Amended PPA,” and together
with the Original PPA, “the PPA” , which supersedes the Original PPA and is the current operative
agreement between the parties. See Exhibit A.

21. Neither the Original PPA nor the Amended PPA were approved by the Jacksonville
City Council (“City Council”).

22. Under the PPA, JEA is entitled to 103 megawatts of` capacity and energy from each

of the Additional Units over a 20-year term commencing on each unit’s commercial operation

Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 6 of 23 Page|D 174

date, but will only receive it in the event the units are actually built and become operational. See
PPA §§ 104, 204(a), & 102.

23. The PPA requires JEA to purchase all of the capacity and energy generated by
Project J during the first 20 years of operation. See PPA § 202. The energy that JEA might
eventually receive under the PPA is projected to represent approximately 13 percent of JEA’s total
energy requirements in the year 2023.

24. Under the PPA, JEA did not acquire any ownership interest in the Additional Units
or Project J. Moreover, JEA has no control over, or even any right to participate in, any of` the
decisions concerning the construction or operation of the Vogtle Project or Project J in particular.
See PPA § 601.

25. MEAG and the Project J Entity entered into a Wholesale Power Purchase
Agreement, pursuant to which MEAG is entitled to all of the capacity and energy of the Project .l
Entity’s ownership interest in Project J, and MEAG is obligated to pay all of the Project J Entity’s
costs and expenses, including the cost of financing the construction of the Additional Units.

26. Under the PPA, MEAG is required to “resell” to JEA all of the power it receives
under the Wholesale Power Purchase Agreement from the Project J Entity during the first 20 years
of operation of the Additional Units. See PPA § 201.

27. ln order to finance Project J’s portion of the construction costs for the Additional
Units, MEAG authorized and validated approximately $6 billion of revenue bonds to be secured
for the first 20 years by the payments to be made by JEA under the PPA (the “Project J Bonds”),
and thereafter by the payments to be made by the Project J Participants under their agreements to

take over the Proj ect.l capacity.

Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 7 of 23 Page|D 175

28. MEAG issued a portion of the Project J Bonds in 2010 and 2015, of which
approximately $1.43 billion in principal was outstanding as of December 31, 2017.

29. ln 2008, MEAG applied to the U.S. Department of Energy (the “DOE”) for loans
guaranteed by the DOE for nuclear projects employing new or significantly improved technology
under Title XVII of the Energy Policy Act of 2005.

30. The DOE approved the application and issued a commitment to guarantee loans of
up to $577.4 million (the “DOE Guaranteed Loans”) to be made by the Federal Financing Bank to
the Project J Entity.

31. As ofDecember 31, 2017 , approximately $337.9 million of DOE Guaranteed Loans
for Project J construction costs had been drawn down by the Project J Entity and are outstanding

32. The PPA unconditionally requires JEA to pay MEAG for capacity and energy at
the firll cost of production of Project J, including debt service on the Project J Bonds issued and to
be issued by MEAG and on the DOE Guaranteed Loans made and to be made to the Project J
Entity to finance the portion of the capacity to be sold to JEA from the Additional Units. See PPA
§§ 104 & 204.

33. Under the PPA, JEA is obligated to fix the rates for its electric utility and charge its
ratepayers at levels at least sufficient to meet its obligations thereunder and must pay those
obligations first, prior to making debt service payments on its own debt.

34. JEA’s obligation to pay is completely unconditional regardless of whether the
electricity is ever delivered, or whether either or both of the Additional Units are ever “completed
or [are] operating or operable, and whether or not [their] Output is suspended, interrupted,
interfered with, reduced or curtailed or terminated in whole or in part, and such payments shall not

be subject to reduction, whether by offset or otherwise, and shall not be conditioned upon the

Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 8 of 23 Page|D 176

performance or non-performance by any party of any agreement for any cause whatsoever.” See
PPA § 204(g). This obligation is called a “hell-or-high-water” clause because of the unconditional
nature ofthe obligation imposed.

35. In 2008, Georgia Power, for itself and as Agent for the other Co-Owners, entered
into a contract (“the EPC Contract”), pursuant to which Westinghouse Electric Company LLC
(“Westinghouse”) and its affiliate, WECTEC Global Project Services Inc. (“WECTEC”), agreed
to design, engineer, procure, construct, and test the Additional Units.

36. The EPC Contract was a fixed-cost contract, which required Westinghouse and
WECTEC to absorb most of the construction cost overruns for the Vogtle Project.

37. Construction of the Additional Units experienced significant delays and substantial
cost overruns, resulting in construction costs far in excess of the fixed cost under the EPC Contract
and delaying the projected completion date by years.

38. As a result of the problems with the construction of the Additional Units, the
significant cost overruns and other issues, Westinghouse and WECTEC each filed bankruptcy on
March 29, 2017.

39. On June 9, 2017, Georgia Power, for itself and as Agent for the Co-Owners, entered
into a “Services Agreement” (later amended and restated on June 20, 2017) with Westinghouse
and WECTEC, which called for Westinghouse and WECTEC to transition construction
management of the Additional Units to Southem Nuclear Company (“Southern Nuclear”), the
parent company of Georgia Power,

40. Effective October 23, 2017, Georgia Power, for itself and as Agent for the Co-

Owners, entered into a Construction Completion Agreement (the “Construction Agreement”) with

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 9 of 23 Page|D 177

Bechtel Corporation (“Bechtel” , Who serves as the primary construction contractor for the
remainder of the Vogtle Project.

41. The terms of Construction Agreement differ considerably from those of the EPC
Contract. Unlike the EPC Contract, which was a fixed-cost contract, the Construction Agreement
is a cost-reimbursement arrangement Under the Construction Agreement, the Co-Owners agreed
to reimburse Bechtel for its actual construction costs plus certain additional fees. Each Co-Owner
is liable for its proportionate share of all amounts owed to Bechtel under the Construction
Agreement.

42. Since the Construction Agreement Was entered into, the estimated cost to complete
construction of the Additional Units has increased uncontrollably and the estimated completion
date has repeatedly been pushed back. The initial $1.3 87 billion estimated to complete Project J,
has ballooned to $2.918 billion. The initial estimated completion date of April 2016 is now
November 2021. There appears to be no end in sight to the ever-increasing cost and delays
plaguing the construction of the Additional Units.

43. JEA was not permitted by MEAG to participate in any way with the negotiation of`
the terms of the Construction Agreement or the decision to press ahead with construction of the
Additional Units despite the absence of any economic reason to do so. Thus, JEA is not a party to,
did not authorize, and did not participate in any way with, the Construction Agreement or the ill-
advised decision of the Co-Owners to continue with the Vogtle Project.

44. The change in the underlying construction contract for the Vogtle Project from a
fixed-cost contract to a cost-reimbursement contract fundamentally and drastically changed the
nature of JEA’s obligations and risks with respect to Froject J. Through the PPA, MEAG and the

Project J Entity are able to pass along to JEA a substantial portion of the now-unlimited cost to

Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 10 of 23 Page|D 178

construct the Additional Units. JEA must satisfy this open-ended obligation to pay for MEAG’s
yet unknown and uncapped debt service regardless of the amount, regardless of whether the
Additional Units are ever built or ever become operational, and regardless of whether JEA ever
receives any electricity, capacity, or benefit whatsoever from the Additional Units.
GROUNDS IN SUPPORT OF DECLARATORY RELIEF

45. For the reasons set forth below, JEA acted beyond the limits of its authority by
entering into the PPA in violation of the constitution, laws, and public policy of the state of F lorida,
rendering the PPA ultra vires, void, and unenforceable

First Ground.'
The PPA Violates Article VII, Section 10 of the Florida Constz'tution

46. Article VII, Section 10 of the Florida Constitution provides, in relevant part:

Pledging credit.-Neither the state nor any county, school district,
municipality, special district, or agency of any of them, shall become a joint
owner with, or stockholder of, or give, lend or use its taxing power or credit
to aid any corporation, association, partnership or person; but this shall not
prohibit laws authorizing:

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(d) a municipality, county, special district, or agency of any of` them,
being a joint owner of, giving, or lending or using its taxing power or credit
for the joint ownership, construction and operation of electrical energy
generating or transmission facilities with any corporation, association,
partnership or person.

47. Article VII, Section 10 of the Florida Constitution generally prohibits a Florida
public entity from, among other things, becoming a joint owner with or lending or using its credit
to aid any corporation, association, partnership or person. The prohibition in Article VII, Section
10 has been a part of Florida constitutional law for more than 130 years and reflects the long-
standing public policy of the state of Florida that public entities may not jeopardize their financial

stability by becoming financially entangled with private enterprise

10

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 11 of 23 Page|D 179

48. Article VII, Section 10(d) supplies a limited exception to the prohibition against a
public entity’s ability to give, lend, or use its credit to aid a private entity. Section 10(d) authorizes
the Florida Legislature to enact laws that permit a public entity to be a joint owner of, or give, lend,
or use its taxing power or credit for the im ownership, construction, and operation of electrical
generation or transmission facilities With any corporation, association, partnership or person.

49. Under Article VII, Section 10(d) ofthe Florida Constitution, JEA is only permitted
to give, lend, or use its credit towards an electrical generation or transmission facility that is co-
owned with a private corporation when JEA also has jM ownership of` the facility.

50. One of the Co-Owners of the Vogtle Project is Georgia Power, a private for-profit
corporation, which owns a 45 .7 percent share_the largest share_of the Additional Units. The
second largest Co-Owner is Oglethorpe, a private not-for-profrt corporation, which owns a 30
percent share of the Additional Units. Thus, private enterprises own and control more than 75
percent of the Additional Units.

51. JEA’s 20-year obligation to pay for the construction of the Additional Units is
estimated to cost JEA more than $1.6 billion. Further, the PPA also requires JEA to act as liquidity
provider (i.e., to provide up to $75 million in cash upon MEAG’s demand) to retire short-term
debt instruments issued by MEAG (such as bond anticipation notes, take-out bonds and
commercial paper) in the event MEAG cannot refinance those debt instruments See PPA § 204(b).
Under the PPA, JEA may not be reimbursed for such liquidity loans to MEAG for up to 20 years
if MEAG deems that it is too expensive to access the market to reimburse JEA.

52. JEA’s payment obligations under the PPA are “Contract Debt” payable from the
general revenues of JEA’s electric system before payment of any of JEA’s other expenses,

including its own debt service JEA is obligated to raise the rates it charges its customers for

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Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 12 of 23 Page|D 180

electricity in order to generate enough revenue to satisfy its obligations under the PPA. Further,
under the PPA’s “hell-or-high-water” clause, JEA is obligated to pay for construction of the
Additional Units regardless of whether any power is ever generated from them.

53. JEA has no ownership interest in the Vogtle Project and no ability to control any of
the decisions with respect to the Vogtle Project, including the decision to continue to incur expense
in constructing the Additional Units. This lack of joint ownership and control violates Article VII,
Section 10(d) of the Florida Constitution.

54. Pursuant to the PPA, JEA has given, lent, and used its credit to aid the Co-Owners,
including Georgia Power and Oglethorpe, in financing their construction and ownership of` the
Additional Units, which the Co-Owners own as tenants in common. The primary and paramount
purpose of JEA’s payment obligations under the PPA is to finance the construction of the
Additional Units, as evidenced by the fact that JEA’s payments are based on MEAG’s debt service
on its financing of the construction of the Additional Units and the fact that JEA’s payments are
due regardless of whether the Additional Units ever produce electricity and regardless of whether
JEA ever actually receives any electricity from the Additional Units.

55. JEA acted outside the scope of its constitutional authority under Article VII, Section
10(d) of the Florida Constitution in entering into the PPA because JEA has given, lent, and used
its credit to aid the Vogtle Project, the largest Co-Owners of which (75.7 percent) are private
corporations, yet JEA retains no ownership interest in the Additional Units and has no power to
manage or control the Vogtle Project. Accordingly, the PPA is ultra vires, void, and unenforceable

Second Ground:
The PPA Violates Chapter 80-513, Laws ofFlorz‘da

56. Section 21.04(0) of the Charter allows JEA to enter into agreements with other

public or private electric utilities to implement “joint electric power projects” in accordance with

12

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 13 of 23 Page|D 181

Chapter 80-513, Laws of Florida, as amended (“Chapter 80-513”). Specifically, pursuant to
§ 21.04(0) of the Charter, JEA has the power:
To enter into agreements with one or more other electric utilities, public or
private, and related contracts with respect to joint electric power projects as
provided in section 2 of chapter 80-513, Laws of Florida, as amended. The
provisions of said chapter 80-513 shall govern and control JEA in all
respects in the carrying out of a joint electric power project authorized
thereunder notwithstanding any provision of the charter or of the Ordinance
Code of the City of Jacksonville which may be in conflict therewith.

57. Section 10 of Chapter 80-513 provides that “[t]he provisions of this act are intended
to implement the provisions of s. 10, Article VII of the State Constitution” by permitting JEA to
“give, lend or use its credit to aid any joint participant in such project.”

58. Section 1 of Chapter 80-513 authorizes JEA to “acquire, build, construct, erect,
extend, enlarge, lease, improve, fumish, equip, own and operate” “projects” which are defined as
“electric generating plants and transmission lines and interconnections and substations for the
generation, transmission and exchanging of electric power and energy both within and without the
boundaries of the consolidated City of Jacksonville and within and without the state.” (emphasis
added).

59. The Vogtle Project, consisting of the Additional Units, is an electric generating
plant located “without the state” of Florida and qualifies as a “project” as defined under section l
of Chapter 80-513.

60. Section 2(a) of Chapter 80-513 authorizes JEA to

join with any other electric utility located within or without the state or any
group of such electric utilities, public or private, for the purpose of jointly
financing, acquiring, building, constructing, erecting, extending, enlarging,
leasing as lessor or as lessee, improving, furnishing, equipping, owning and
operating any project in accordance With the provisions of this act, and may

contract With any such utility or group of electric utilities for any such
purpose . . . . (emphasis added).

13

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 14 of 23 Page|D 182

61. Pursuant to the PPA, JEA is “jointly financing” the Vogtle Project with MEAG,
Georgia Power, Oglethorpe, and other entities within the meaning of section 2(a) of Chapter 80-
513. The PPA provides for more than just the purchase of electricity It obligates JEA to satisfy a
portion of MEAG’s debt service with respect to debt MEAG and the Project J Entity issues to
finance the construction of the Additional Units, including the Project J Bonds and the DOE
Guaranteed Loans. Although MEAG is the nominal issuer of the Project J Bonds and the Project
J Entity is nominally the obligor under the DOE Guaranteed Loans, JEA is the obligated party to
whom the bondholders and the DOE are looking for repayment

62. JEA was required to disclose and did disclose its financial and operational
information in MEAG’s prospectus for the issuance of the Project J Bonds and is obligated to
provide ongoing disclosure of such information until its payment obligations are complete, as if it
had been the issuer of MEAG’s Project J Bonds. Under Rule 15c2~12 of the Securities and
Exchange Commission under the Securities Exchange Act of 1934 relating to disclosure
requirements in connection with the issuance of municipal seeurities, JEA is an “obligated person”
who is responsible for the repayment of MEAG ’s Project J Bonds during the first 20 years.

63. The PPA also requires JEA to act as liquidity provider (i.e., to provide up to $75
million in cash upon MEAG’s demand) to retire short-term debt instruments issued by MEAG
(such as bond anticipation notes, take-out bonds and commercial paper) in the event MEAG cannot
refinance those debt instruments. See PPA § 204(b). Under the PPA, JEA may not be reimbursed
for such liquidity loans to MEAG for up to 20 years if MEAG deems that it is too expensive to
access the market to reimburse JEA. See id. This is a role typically fulfilled by an external credit

support financial institution and not a utility provider.

14

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 15 of 23 Page|D 183

64. Section 8 of Chapter 80-513 requires that contracts entered into under section 2(a)
of Chapter 80-513 (i.e., an agreement to “jointly financ[e]” a project) are invalid unless approved
by two-thirds of the membership of City Council. Section 8 of Chapter 80-513 provides, in
pertinent part:

[A]ny agreements or contracts entered into by JEA under section 2(a) of

this act shall be subject to the prior consent and approval by two-thirds of
the membership of the council . . . .

65. The PPA is a joint financing contract under section 2(a) of Chapter 80-513.
Pursuant to section 8 of Chapter 80-513, the PPA required the prior consent and approval by two-
thirds of the membership of City Council. However, no City Council approval was obtained for
the PPA.

66. The PPA violates Chapter 80-513 (the act implementing Article VII, Section lO of
the Florida Constitution) because JEA did not obtain approval from City Council before entering
into the PPA. Accordingly, the PPA is ultra vires, void, and unenforceable

67. Additionally, the PPA violates Chapter 80-513 because it does not comply with the
ownership and control requirements set forth therein. Under the PPA, JEA did not acquire any
ownership interest in the Additional Units or Project J and has no control over, or even any right
to participate in, any of the decisions concerning the construction or operation of the Vogtle Project
or Project J in particular. See PPA § 601. Because Chapter 80-513 implements the exception in
Article VII, Section lO(d), ownership and control over the project being financed is
constitutionally mandated

68. Additionally, the PPA violates section 2(b) of Chapter 80-513 because it has a
maximum term of 50 years from its execution. See PPA § 102. Section 2(b) of Chapter 80-513

provides that JEA “[m]ay contract for a period not exceeding 40 years for: (i) The purchase by

15

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 16 of 23 Page|D 184

take-or-pay eontracts, or otherwise, of capacity or energy, or both.” Accordingly, the PPA violates
section 2(b) of Chapter 80-513 because it has a maximum term of 50 years.
Third Ground:
The PPA is a Joint Project Agreement Requiring City Council Approval
Pursuant to § 21. 04(11) of the Charter

69. Section 21 .04(n) ofthe Charter allows JEA to enter into “joint project agreements”
to implement a “project” as defined in part II, chapter 361, Florida Statutes, subject to certain
requirements:

To enter into joint project agreements as provided by part 11 of chapter 361 ,
Florida Statutes, for the purpose of implementing a project, as such term is
defined in Part II of Chapter 361, Florida Statutes. A copy of all such joint
project agreements shall be filed with the council and the mayor at least
thirty days prior to the effective date of the agreement Anything in this
provision to the contrary notwithstanding, (i) any joint project agreement
that involves a transfer of any junction or operation that comprises more
than ten percent of the total of the utilities system by sale, lease or otherwise
to any other utility, public or private, or (ii) any joint project agreement that
involves the issuance of debt not previously authorized by s.2l.04(l')(2),
shall require prior approval of the council. (emphasis added).

70. A “project” is defined in § 361.11(1), Florida Statutes, as “a joint electric power
supply project . . . for the joint generation or transmission of electrical energy, or both . . . .” The
Vogtle Project qualifies as a “project” under this statute

71. Section 361 .12, Florida Statutes, empowers an “electric utility” to join with any one
or more “foreign public utilities” for the purpose of` “jointlyfinancing, acquiring, constructing,
managing, operating, or owning any project.” (emphasis added).

72. As set forth above, MEAG and JEA are jointly financing Project J because MEAG
and the Project J Entity incur indebtedness based on JEA’s creditworthiness, the debt service of

which JEA is then required to pay for the first 20 years. Therefore, the PPA is a “joint project

agreement” Within the meaning of § 21.04(n) of the Charter,

16

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 17 of 23 Page|D 185

73. Pursuant to clauses (i) and (ii) of § 21 .04(n) of the Charter, respectively, City
Council approval is required if the “joint project agreement” (i.e., the PPA) involves either (i) the
transfer of any function or operation in excess of 10 percent of the total ofthe utility system or (ii)
the issuance of debt not previously authorized under § 21 .04(i)(2) of the Charter.

74. The PPA is a joint project agreement that involves the transfer of a function of JEA
in excess of 10 percent of the total of JEA’s electric utilities system. The energy JEA is expected
to receive under the PPA is projected to represent approximately 13 percent of JEA’s total energy
requirements in the year 2023. The functions being transferred are JEA’s power to control its
expenditures in both constructing and operating Proj ect J, both of which JEA has contracted away
by agreeing to be responsible for MEAG’s debt service on more than $1.6 billion of MEAG debt
for 20 years as well as operational costs during such time without having any ability to control
construction or operating costs.

75. The PPA involves the issuance of debt not previously authorized by City Council
under § 21.04(i)(2) of the Charter. JEA’s liability under the PPA constitutes the “issuance of debt”
within the meaning of clause (ii) of § 21.04(n)(ii) of the Charter. JEA agreed in the PPA that
MEAG and the Project J Entity may incur unlimited amounts of debt, the debt service on which
JEA will be responsible to pay over 20 years. JEA’s obligation to pay this debt was not previously
authorized by City Council under § 21.04(i)(2) of the Charter.

76. JEA lacked the authority to enter into the PPA pursuant to § 21.04(n) of the Charter
because prior City Council approval of the PPA was not obtained as required by clauses (i) and

(ii) of § 21.04(n) of the Charter. Accordingly, the PPA is ultra vires, void, and unenforceable

17

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 18 of 23 Page|D 186

Fourth Ground:
The PPA is an Agreement to Borrow Money Requiring City Council Approval
Pursuant to § 21.04(]°) of the Charter

77. Section 21 .04(j) of the Charter empowers JEA:

To borrow money and to issue notes for any purpose or purposes for which
bonds or revenue certificates may be issued under the provisions of this
article, in accordance with the provisions of this article relating to the
issuance of bonds or revenue certificates . . . . (emphasis added).

78. Section 21.04(j) of the Charter is applicable to instances in which JEA borrows
money other than by issuing bonds or revenue certificates for any purpose for which bonds or
revenue certificates may be issued. Although these borrowings are not bonds or revenue
certificates, § 21 .04(i) of the Charter nonetheless requires that they be undertaken “in accordance
With the provisions of this article [21] relating to the issuance of bonds or revenue certificates.”

79. Section 21.04(i)(2) of the Charter provides the JEA may issue bonds or revenue
certificates if “the total aggregate amount of bonds or revenue certificates issued by JEA [are]
within the limits prescribed by ordinance of the council.” If a debt issuance would cause the
aggregate total amount of bonds and revenue certificates to exceed the limits prescribed by City
Council ordinance, JEA must obtain the prior approval from City Council.

80. Under the PPA, JEA is obligated to pay the debt service on bonds issued by MEAG
and on the DOE Guaranteed Loans made by the Project J Entity to finance the construction of the
Additional Units. Although MEAG is the nominal issuer of the bonds and the Project J Entity is
the nominal obligor under the DOE Guaranteed Loans, JEA is the obligated party to whom
bondholders and the DOE are looking for repayment The PPA is first and foremost a financing
agreement for JEA to repay money borrowed by MEAG and the Project J Entity for JEA’s

presumed benefit, regardless of whether JEA actually receives the benefit.

18

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 19 of 23 Page|D 187

81 . Because the PPA effectively makes JEA the borrower of` the Project J Bonds and
the DOE Guaranteed Loans, City Council approval of the aggregate indebtedness of JEA under
the PPA was rcquired. Because City Council approval was not obtained for this borrowing, the
PPA is ultra vires, void, and unenforceable

Fifth Ground:
The PPA is a Constitutionally Impermissible Delegation of JEA ’s Decision-Making
Authority and Responsibility

82. JEA, as a public entity and an independent agency of the City, impermissibly
delegated to MEAG and the Co-Owners its constitutional decision-making authority and
responsibility with respect to the incurrence and payment of debt and expenses

83. Pursuant to the terms of the PPA, JEA does not retain any control over the Vogtle
Project generally or Project J in particular, including decisions to incur debt or to continue With
construction of the Additional Units. See PPA § 601.

84. JEA has no ownership interest in Project J or the Additional Units, no power or
authority to participate in project finance and spending decisions, and no power or authority to
challenge, object, or have any input with regard to the cost of the Vogtle Project. See PPA
“Recitals” at l; PPA §§ 208 & 601.

85. The PPA obligates JEA to an unknown, uncapped substantial amount of debt, and
JEA has delegated all decision-making authority to MEAG, the Co-Owners, and Georgia Power
as Agent.

86. The PPA also impermissibly imposes restrictions upon JEA’s discretionary power
to make expenditures with regard to other projects or purchases because it requires JEA’s
payments under the PPA to be made prior to debt service on JEA’s own electric system revenue

bonds.

19

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 20 of 23 Page|D 188

87. The PPA also impermissibly imposes restrictions upon JEA’s ability to set its rates
because JEA is required to fix its rates in an amount sufficient to cover its obligations under the
PPA.

88. JEA has no right under the PPA to suspend or terminate its payment obligations f`or
any reason, including if MEAG fails construct the Additional Units or deliver electricity to JEA.

89. JEA has delegated to MEAG and the Co-Owners plenary authority to make
spending and all other decisions concerning JEA’s fiscal share of the construction costs of` the
Additional Units, and JEA retains no ownership or management interest in the Additional Units.

90. JEA’s transfer of these powers and interests to MEAG and the Co-Owners is a
constitutionally impermissible delegation of JEA’s spending power. Theref`ore, the PPA is ultra
vires, void, and unenforceable

Sixt‘lz Grouml:
The PPA Violates Florida Public Policy

91. The citizens and ratepayers in northeast Florida rely on JEA to manage the electric
utility system in a prudent manner and to protect them from unjust, ill-considered, or extortionate
contracts.

92. Under the PPA, JEA’s electric utility ratepayers are burdened for 20 years by the
obligation to fund a project in which JEA retains no ownership interest, over which JEA has no
management or budgetary control, and from which ratepayers may never receive any electricity or
capacity notwithstanding the massive unconditional financial obligations incurred.

93. At the same time, the Project J Participants, who are all members ofMEAG, receive
the benefit of an indirect ownership interest in the Additional Units by virtue of their membership
in MEAG, as well as energy and capacity therefrom, following the 320-year PPA term, for the

remainder of` such Units’ 40-year NRC Licenses’ terms.

20

Case 3:18-cV-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 21 of 23 Page|D 189

94. The substantial, open-ended, and unlimited obligations borne by JEA’s ratepayers
are not balanced by either ownership or management control in the project. There is a complete
absence of any JEA oversight or discretion, which constitutes an improper delegation of JEA’s
spending power. As a rcsult, the PPA is imprudent, ill-considered, and injurious to the public.

95. JEA has a duty to engage in prudent and responsible management of its resources
and finances for the benefit of its ratepayers as an established social interest. The Charter allows
JEA to enter into contracts that it deems necessary or desirable “for the wit management of
JEA funds, debts or fuels, including, Without limitation, contracts for the future delivery or
price management of power, energy, or other related commodities.” See § 21 .04(1), Charter.

96. Article VII, section 10 of the Florida Constitution reflects the long-held public
policy of the state of` Florida that forbids the financial entanglement of a public body with private
interests without the benefit of ownership and control of the subject matter. The PPA inflicts
precisely the sort of harm on JEA and its ratepayers that this public policy was designed to guard
against

97. As a result of the unconditional and uncapped obligations of JEA under the PPA,
the improper delegation of JEA’s decision-making authority, and the drastic changes imposed on
JEA by the Construction Agreement, the PPA exposes JEA and its ratepayers to significant
financial risk in violation of the public policy of the state of Florida. Accordingly, the PPA is ultra
vires, void, and unenforceable

DEMAND FOR DECLARATORY RELIEF

98. The City and JEA are entitled to declaratory relief because JEA acted without

authority and in violation of` the constitution, laws, and public policy of the state of Florida in

entering into the PPA.

21

Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 22 of 23 Page|D 190

99. The declaratory relief requested herein will resolve a present, actual controversy

between the parties and bring certainty as to the respective rights and obligations of the parties

concerning the PPA.

100. All conditions precedent to the filing and maintenance of this action have been

satisfied, excused, or waived.

WI-IEREFORE, Plaintiffs City of Jacksonville, Florida and JEA request the entry of

judgment declaring that the PPA entered into between JEA and MEAG is ultra vires, void, and

unenforceable against JEA, and awarding Plaintiffs all further appropriate relief`.

DEMAND FOR JURY TRIAL

Plaintiffs, City of Jacksonville and JEA request a trial by jury of all issues so triable.

Respectf`ully submitted this llth day of September, 2018.

/s/ George E. Schulz, Jr.

22

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Case 3:18-cv-01174-B.]D-.]RK Document 2 Filed 10/02/18 Page 23 of 23 Page|D 191

23

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